                 IN THE UNITED STATES COURT OF FEDERAL CLAIMS
                                  BID PROTEST




AMAZON WEB SERVICES, INC.,

                             Plaintiff,
                                                          Case No. 19-1796C
     v.
                                                          Judge Patricia E. Campbell-Smith
UNITED STATES OF AMERICA,
by and through the U.S. Department of Defense,

                             Defendant,

     and

MICROSOFT CORPORATION,

                              Defendant-Intervenor.


               AMAZON WEB SERVICES, INC.’S MOTION TO WITHDRAW
               APPLICATIONS FOR ACCESS TO PROTECTED MATERIAL

          Pursuant to Rule 7(b) of the Rules of the U.S. Court of Federal Claims (“RCFC”), Amazon

 Web Services, Inc. (“AWS” or “Plaintiff”) moves this Court to grant its request to withdraw certain

 Applications for Access to Protected Material, filed by AWS on December 23, 2019. Plaintiff has

 consulted with Defendant, the United States, and Defendant-Intervenor, Microsoft Corporation,

 and neither party objects to this Motion.

          AWS filed applications for the following HeleCloud employees AWS sought to engage as

 expert consultants in this matter: Craig Tunstall (ECF No. 75), Dob Todorov (ECF No. 76),

 Nikolay Dinev (ECF No. 77), Nikos Terizakis (ECF No. 78), Ivaylo Vrabchev (ECF No. 80), and

 Branimir Nikolov (ECF No. 81). After discussions with Defendant and Defendant-Intervenor

 regarding these applications, Plaintiff has decided to withdraw them.
         For these reasons, AWS respectfully requests this Court find good cause exists to grant this

Motion to Withdraw Applications for Access to Protected Material for Craig Tunstall (ECF No.

75), Dob Todorov (ECF No. 76), Nikolay Dinev (ECF No. 77), Nikos Terizakis (ECF No. 78),

Ivaylo Vrabchev (ECF No. 80), and Branimir Nikolov (ECF No. 81).



Dated:         January 3, 2020                 Respectfully submitted,




                                               By:
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